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                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


SALAM RAZUKI, individually and on
behalf of others similarly situated                        Civil Action No. 17cv1718-LAB (WVG)

                                             Plaintiff,
                                      V.
CALIBER HOME LOANS, INC.                                     JUDGMENT IN A CIVIL CASE


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
the Court DISMISSES THIS CASE WITH PREJUDICE. The clerk is directed to enter judgment in
favor of Caliber and to close the case.




Date:         11/16/18                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ D. Gilbert
                                                                                    D. Gilbert, Deputy
